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       In the United States Court of Federal Claims
  * * * * * * * * * * * * * * * *
  LONGNECKER PROPERTY, et al.,  *
  For Themselves As Representatives
                                *
  of a Class of Similarly Situated
                                *
  Persons,                      *                          No. 09-173L
                                *                          Filed: February 10, 2017
                 Plaintiffs,    *
            v.                  *
                                *
  UNITED STATES,                *
                                *
                 Defendant.     *
                                *
  * * * * * * * * * * * * * * * *
                             ORDER


       The court is in receipt of the parties’ February 10, 2017 joint motion for entry of
amended judgment. The parties’ joint motion for entry of amended judgment is
GRANTED. The Clerk of the Court shall enter JUDGMENT in the following amounts:
$7,060,144.96 in principal and $629,000.00 for reimbursement of attorneys’ fees and
costs pursuant to the Uniform Relocation Assistance and Real Property Acquisition
Policies Act of 1970. Additionally, the plaintiffs shall receive interest on the principal at a
4.00% interest rate, compounding annually for the period between May 24, 2004 and the
date of payment.

       IT IS SO ORDERED.
                                                           s/Marian Blank Horn
                                                           MARIAN BLANK HORN
                                                                    Judge
